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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

GREG STANTON,                            *
                                         *
           Plaintiff,                    *
                                         *
v.                                       *                 Case No.: 1:11 CV 297
                                         *
FUTUREWEI TECHNOLOGIES, INC. d/b/a       *
HUAWEI TECHNOLOGIES (USA)                *
                                         *
           Defendant.                    *
                                         *
________________________________________ *

                               FINAL DISMISSAL ORDER

      This matter came before this Court upon agreement of the parties for entry of a final

dismissal order, and

      It appearing, by the endorsement of counsel below, that all matters of controversy have

been fully resolved and compromised, it is hereby

      ADJUGED, DECREED, and ORDERED that this action be dismissed with prejudice

and be removed from the docket of this Court, and that the parties pay their own costs.


Entered: _____________________             ________________________________
                                           Judge
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WE ASK FOR THIS

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By Counsel


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